            Case 3:23-cv-03698-WHA Document 95-1 Filed 06/12/24 Page 1 of 2




                                              Exhibit 1:

                  Errata to Bright Data’s Motion to Disqualify Quinn Emanuel


     Page:Line 1 Original Text                              Corrected Text.
     i:9         Meta Platforms, Inc. v. Bright Data        Meta Platforms, LLC v. Bright Data
                 Ltd., 23-cv-00077 (N.D. Cal.)              Ltd., 23-cv-00077 (N.D. Cal.)
     iv:11       Omission                                   hiQ Labs, Inc. v.
                                                            LinkedIn Corp., 639
                                                            F.Supp.3d 944 (N.D.
                                                            Cal. 2022)

     v:26          Hazard, et al., The Law of               Hazard, et al., The Law of Lawyering
                   Lawyering (4d ed. 2023)                  (4th ed. 2023)
     1:11           “free reign to decide …                 “free rein to decide ...
     4:11          639 F.Supp.2d 944 (N.D. Cal.             639 F.Supp.3d 944 (N.D. Cal. 2022).
                   2022).
     4:27          … which it discussed with Bright         … which it discussed with Bright
                   Data’s general counsel                   Data’s general counsel over video
                   telephonically on or about February      conference on or about February 26,
                   26, 2023.                                2023.
     5:6           … it “approached the analysis’ …         … it “‘approached the analysis’ …
     6:28          Quinn entered its appearance on          Quinn entered its appearance on June
                   June 4, 2023.                            4, 2024.
     7:1           Just two days later, on June 6, 2022,    Just two days later, on June 6, 2024,
                   …                                        …
     12:14         … does not require an exact match        … does not require an exact match
                   between facts and issues in the two      between facts and issues in the two”
                   cases.”).                                cases.).

     12:24         (“The words ‘subject” …                  (“The words ‘subject’ …
     12:27         In the HiQ case, …                       In the hiQ case, …
     13:10         … it casts doubt of the reliability …    … it casts doubt on the reliability …
     14:15         … and analyses of its claims, …          … analyses of its claims, …
     15:20-21      (“Where the requisite substantial        (“Where the requisite substantial
                   relationship can be demonstrated,        relationship can be demonstrated,
                   access to confidential information in    access to confidential information in
                   the first representation (relevant, by   the … first representation (relevant,
                   definition, to the second                by definition, to the second
                   representation) is presumed and          representation) is presumed and
                   disqualification is mandatory”);         disqualification is mandatory”);
     16:3          Moreover, the circumstances              Moreover, the circumstances
                   surrounding the Quinn’s                  surrounding Quinn’s engagement …
                   engagement …

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    References to page and line numbers are to the original Disqualification Motion.
    Case 3:23-cv-03698-WHA Document 95-1 Filed 06/12/24 Page 2 of 2




Page:Line 1 Original Text                      Corrected Text.
19:2        cf. Openwave Sys. Inc. v. Myriad   cf. Openwave Sys. Inc. v. Myriad
            France S.A.S., 2011 WL 1225978,    France S.A.S., 2011 WL 1225978, *5
            *4 (N.D. Cal. 2011)                (N.D. Cal. 2011)
19:3        Kirk v. First Am. Ins. Co., 183    Kirk v. First Am. Ins. Co., 183
            Cal.App.4th 776, 108 (2010)        Cal.App.4th 776, 814 (2010) (same).
            (same).
19:27       … second Circuit …                 … Second Circuit …
20:19       SpeeDee, 20 Cal. 4th at 1145       SpeeDee, 20 Cal. 4th at 1145 n.2
            (same).                            (same).




                                         2
